     Lois Irene Davis

     969 Turkey Blind RD
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     July 27,2010

     Eastern District of Tennessee

             Office of

     Clerk, United States District Court

             800 Market Street, Suite 130

         Knoxville, TN 37902



     Attention Thomas A. VarIan,

     I spoke with your clerks' office on July 20, 2010, and was informed that this case had
     been dismissed.

     I asked her what I could do because I had not received any information from the court
     after I had sent you the letter in June 2010. Her response was "I can not give you legal
     advice" I tried to explain to her that I was asking for direction. I believed that I should be
     able to go to court against the best lawyer, and the proceeding judge help me to insure
     that it was a level playing field. Courts should not be just for lawyers. She stated to me
     we do not give legal advice to lawyers either". If she meant to get me off the phone with
     that dumb statement she succeeded.

     I know that I am writing this letter in vein but I want this to be part of the record.

     I have spent my life trying to help and care for people; it is hard for me to understand
     how someone can make a judgment about a life changing event for someone without
     every even talking to them.




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    Please let me clarify a few things in the Court Order that I received in my mail July 21,
    2010 when I got home.

    I did not discharge Mr. Weinstein he quit me, as I stated to you in my letter in June 2010.

    I was not aware that Mr. Slovis had not filed the right paper work in this case and Mr
    Weinstein did not inform me of that when he decided to quit this case. And had I had the
    chance I could have provided you with all the information, if someone had only asked.

    When I was in nursing school we were taught that sometimes we had to be able to "speak
    the language of our patients" I think it would be a good idea, for the courts to be able to
    speak the language of the people that it serves, not just the ones that go to school to
    understand the language of law.

    The court interpretation was incorrect. I do not ask for hand outs or beg for help. I will
    pay a lawyer if one would take the case like Mr. Slovis did.

    What are "exceptional circumstances"? Please explain. Just for the recorded I try to live
    on six hundred and twelve dollars a month.

    What is dilatoriness?

    1. slow: tending to waste time or move slowly

    2. intended to delay: intended to cause a delay or waste time

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    Might I reminded you that I did not receive any notice of any court filings in this case
    from July 7, 2007, I thought that Mr. Slovis was taking care of the case, and had phone
    conversation with him, before he passed away. I have a letter from Mr. Weinstein stating
    that this was an open case.

    I have responded to all correspondence form the court, to the best of my ability.

    I am enclosing a time line of what I have tried to do in this case. If you truly thought that
    I was delaying this case, why was I not informed? Why was I not told that this was
    reaching some sort of time restraint?

    Common sense would tell you that it would not be in my best interest to delay this case.
    So in response to your findings of record of delay on my part I disagree.




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    I could not find a lawyer to take this case although I have tried multiple times. I am afraid
    that I cannot find anyone now either, but I can not and will not give up .There has to be
    an attorney somewhere that will take this case. Most SSD cases take five years to decide
    and a large percent of those are denied, I am still confused as to why I had to take this to
    court. I am 100% disable through SSD, and have been for nine years.

    I disagree with the Order of the court. I want this to be part of the record. I amlOO %
    disable as is part of record of Social Security Disability, I ask you now what am I suppose
    to do? I put my trust in my attorney and in the system of the court to look out for my best
    interest. Let this letter stand as an appeal of the decision of the court. If I need formal
    lettering, then I ask this court to give me information as to where I can find it. I cannot
    and will not let this go.




           Sincerely,




c/~~~
    Lois Irene Davis




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    Time Line


    I handed over all papers to Mr. Slovis for my work comp case and SSD and Long term
    Disability 2003 2004?

    Work comp was settled in 2005, with a 65% disability.

    Social Security Disability 2005, 2006, with a 100 % disability.

    Until Mr. Slovis death I did not know that he had not filed the long term disability case
    until 2007.

    Though our conversation I was under the impression that he filed all three cases at the
    same time.

    I spoke to Mr. Slovis a few weeks before he passed away and he assured me that he was
    taking care of the case and it was going to trial.

    When Mr. Slovis died in April 2008, I was sad and very scared, When Mr. Weinstein
    said that he was not going to pursue the case and asked to be dismissed, I was ok with it,
    had he told me that nothing had been filed I would not have let him quit. July 25, 2008

    After several correspondences with Mr. Weinstein's office I was finely give me my file,
    around the late fall 2008, or early 2009.

    After several phone calls I was able to talk with Rebecca Brady in Cookeville TN I took
    the whole file to her unopened.
    She kept the file from the time I got it from Mr. Weinstein until late fall 2009, and then
    recommended other Attorneys in Nashville, TN. After talking to them they
    recommended getting in touch with the Law Board in Knoxville, TN.

    2010 I contacted the Law Board and was recommended to an attorney in Knoxville, TN.
    After he looked at the case he stated that he could not take the case.


    Not one person took the time to tell me that none of the paper work had been filed. Not
    even the court clerk.

    I want the court to tell me where I can go to, to file an appeal, in this case.




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